
By order of September 27, 2016, the application for leave to appeal the May 4, 2016 order of the Court of Appeals was held in abeyance pending the decision in People v. Temelkoski (Docket No. 150643). On order of the Court, the case having been decided on January 24, 2018, 501 Mich. 960, 905 N.W.2d 593 (2018), the application is again considered and, it appearing to this Court that the cases of People v. Tucker (Docket No. 152798), --- Mich. ----, 911 N.W.2d 466, 2018 WL 2406989 (2018) and People v. Snyder (Docket No. 153696), --- Mich. ----, 911 N.W.2d 467, 2018 WL 2407026 (2018) are pending on appeal before this Court and that the decisions in those cases may resolve an issue raised in the present application for leave to appeal, we ORDER that the application be held in ABEYANCE pending the decisions in those cases.
